    Case 3:16-cr-01283-MMA              Document 166           Filed 02/21/17   PageID.510    Page 1 of 1
                                   UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                                    Case No. 16CR1283 MMA

                                                  Plaintiff,
                          vs.
                                                                    JUDGMENT OF DISMISSAL
RAYSHAN THOMAS (0)



                                                Defendant.

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

X     the Court has granted the motion of the Government for dismissal, of the offenses as
      charged in the Indictment 21 USC 952, 960, 963 and 21 USC 841(a)(1), 846:
      Conspiracy to Import Controlled Substances, Distribute Methamphetamine and Heroin.


      IT IS THEREFORE ADJUDGED that the da                            ant is hereby discharged.

Dated: 2/13/2017

                                                               Hon. Michael M. Anello
                                                                                           2*4
                                                               United States District Judge




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